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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Northern District of Georgia

Case Number: 1:20-CV-1702

Plaintiff/P etitioner:

KEENAN'S KIDS FOUNDATION, INC.
vs.

Defendant/Respondent:

SEAN CLAGGETT

Received by HPS Process Service & Investigations to be served on Sean Claggett, 601 Michael Place, Newport
Beach, CA 92663. |, NO , do hereby affirm that on the 1___ day of wv mee ;

20.20 at 4 _:300m., execut#d service by delivering a true copy of the Summons in a Civil Action; Compla@t;
Exhibit 1; and Civil Cover Sheet in accordance with state statutes in the manner marked below:
INDIVIDUAL SERVICE: Served the above-named person.
() SUBSTITUTE RESIDENTIAL SERVICE: By delivering the service package to
, as , at the above-named
person's dwelling place or usual place of abode.
() OTHER SERVICE: As described in the Comments below.
() NON SERVICE: For the reason detailed in the Comments below.
(KMILITARY SERVICE: ()YES BRANCH YANO

COMMENTS: DesexipHunt’ While Male 4S y/o LZ. 220 Brown

 

 

 

| certify that | have no interest in the above action, am of legal age and have proper authority in the jurisdiction in
which this service was made.

 

PROCESS SERVER#__ 2423
Appointed in accordance with State Statutes

HPS Process Service & Investigations
www.hpsprocess.com

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Kansas City, MO 64108

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Our Job Serial Number: 2020008094
Ref: 255431.000007

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